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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION


 IN RE: COOK MEDICAL, INC., IVC FILTERS                                 Case No. 1:14-ml-RLY-TAB
 MARKETING, SALES PRACTICES AND                                                      MDL No. 2570
 PRODUCTS LIABILITY LITIGATION


 This Document Relates to:
 Victor Friedman, 1:17-cv-4572-TWP-MJD




                     STIPULATION OF DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the above-titled Plaintiff and Defendants Cook

Incorporated, Cook Medical LLC, and William Cook Europe ApS jointly stipulate that the above-

captioned cases are dismissed with prejudice, with each party to bear its own costs. Plaintiff may

not refile his case in the Southern District of Indiana or in any jurisdiction.

 /s/ Basil E. Adham                                  /s/ Andrea Roberts Pierson
 Basil E. Adham                                      Andrea Roberts Pierson
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 Attorney for Plaintiffs                             Cook Medical LLC, & William Cook Europe ApS

Dated: July 25, 2022
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                                  CERTIFICATE OF SERVICE


       I hereby certify that on this July 25, 2022, I electronically transmitted the foregoing using the

CM/ECF System for filing and transmittal of a Notice of Electronic Filing to the attorneys who are

registered with the Court’s electronic filing system.



                                                             /s/ Basil E. Adham
                                                             Basil E. Adham
